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           Exhibit D-5
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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


   SUSAN BYRNE,                             :
     Plaintiff                              :    Civil Action NO.
                                            :
   vs.                                      :    3:17-cv-01104-VLB
                                            :
   YALE UNIVERSITY                          :
     Defendant                              :    DECEMBER 23, 2019
                                            :

                 DEFENDANT’S PROPOSED JURY INSTRUCTIONS

              Pursuant to the Joint Trial Memorandum Order for the Honorable

Vanessa L. Bryant, the parties in the above-referenced matter propose the

following jury instructions:




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                    REQUESTED INSTRUCTION NO. 1
     CLAIM OF RETALIATION FOR OPPOSING ALLEGED DISCRIMINATION

            Pursuant to Title VII and the Connecticut Fair Employment Practices

Act (CFEPA), it is unlawful for an employer to retaliate against an employee for

opposing an unlawful employment practice. An employer has the absolute right,

however subjective and unsound, to make employment decisions, so long as the

employer’s decision is not based on retaliatory reasons.

            Professor Byrne alleges that Yale University violated the CFEPA and

Title VII by retaliating against her for engaging in activity protected by those

statutes. To prevail on her retaliation claims, Professor Byrne has the burden of

proving the following four elements:

      1.    She engaged in activity protected by the statutes;

      2.    Yale University knew of the protected activity;

      3.    Yale University subsequently took adverse employment action

against her; and

      4.    Yale University would not have taken the adverse employment action

but for Professor Byrne’s protected activity, that is, Professor Byrne must prove a

causal link between the adverse employment action and the protected activity.

            If you find that Professor Byrne has failed to prove any one or more of

these elements by a preponderance of the evidence, then you must find in favor of

Yale and against her on this claim. I will now explain each of these elements.




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                                  1. Protected Activity

             The first element Professor Byrne must prove to prevail on her

retaliation claim is that she engaged in activity protected by the law. When an

employee opposes an employment practice prohibited by law, we say that she has

engaged in “protected activity.” Protected activity includes making a formal

complaint of discrimination to government agencies and internal complaints to the

employer that are specific enough to make clear that the employee is complaining

about conduct prohibited by law. A general allegation or complaint that does not

refer or relate to alleged discrimination is not protected activity.

             Professor Byrne claims that she engaged in protected activity in three

ways: (a) when she provided testimony as part of a Climate Review of her

department; (b) when she participated in a Title IX investigation; and (c) when she

commented to a student reporter. Yale University denies that Professor Byrne

engaged in any protected activity.

             To prove that she engaged in protected activity when she commented

about what she perceived as discrimination, Professor Byrne must prove: (1) that

she had a good faith, objectively reasonable belief, whether accurate or not, that

the conduct she was describing constituted discriminatory conduct prohibited by

Title VII or CFEPA; and (2) that she communicated her opposition to the conduct

to Yale University in a form that enabled it to understand that she was complaining

about conduct prohibited by the statutes.

             You should assess the reasonableness of Professor Byrne’s belief

that she engaged in protected activity in light of the totality of the circumstances



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you find to be proven. Professor Byrne’s belief was objectively reasonable if a

reasonable person in the same circumstances would have believed that the activity

she complained about was discriminatory. It is not enough for Professor Byrne to

show that she reasonably believed in good faith that the activity was unethical,

immoral or illegal under some other statute; Professor Byrne must prove the

reasonableness of her belief that the activity she opposed was discriminatory. For

purposes of her retaliation claim, Professor Byrne need not establish that the

conduct she opposed actually constituted conduct prohibited by Title VII or

CFEPA. Rather, it is sufficient for purposes of her claim if she proves she had a

good faith, objectively reasonable belief that the underlying conduct violated Title

VII or CFEPA.

                        2. Knowledge of Protected Activity

            The parties agree that Yale University, as a corporation, had

knowledge of Professor Byrne’s alleged protected activity, which is sufficient to

satisfy the knowledge prong of Professor Byrne’s claim. Yale is not conceding,

however, that the individuals in the Department of Spanish and Portuguese who

voted on her tenure case had knowledge of the alleged protected activity, but that

issue pertains to causation, which I will address in a moment.

                          3. Adverse Employment Action

            Professor Byrne received a negative tenure vote in the Department of

Spanish and Portuguese. There is no dispute under the law that this decision was

an adverse employment action.

                              4. Causal Relationship



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            Professor Byrne also must prove the final element of this cause of

action: that her protected activity was the determinative cause of the adverse

employment action. At all times, Professor Byrne retains the ultimate burden of

persuading you by a preponderance of the evidence that “but for” her expression

of opposition to conduct she believed to be discriminatory, the Department of

Spanish and Portuguese would have voted in favor of tenure for her. To meet this

standard, Professor Byrne must show that Yale University’s reasons for Professor

Byrne’s negative tenure vote in her Department were false, and that retaliation for

her protected activity was the sole and only true reason. Evidence that specific

decisionmakers responsible for the adverse action were not aware of Professor

Byrne’s protected activity is evidence of a lack of a causal connection.

            If you find that Professor Byrne would have received a negative tenure

vote in her Department even if she had not complained about alleged

discrimination, you must enter a verdict for Yale University on Professor Byrne’s

retaliation claim. Even if you find that Professor Byrne made complaints about

alleged discrimination and those complaints were a substantial element in the

negative tenure vote in the Department of Spanish and Portuguese, you must still

find for Yale University if you find that Professor Byrne would have received a

negative vote in her Department even in the absence of her complaints.



Sources:    O’Malley, Grenig & Lee, Federal Jury Practice and Instructions
            § 171.25 (5th ed. 2001);
            42 U.S.C. § 2000e-3;
            Univ. of Texas Southwestern Med. Ctr. v. Nassar, 570 U.S. 338 (2013)
            (finding “but for” causation applicable to claims of retaliation under
            Title VII and similarly worded statutes);

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     Rojas v. Roman Catholic Diocese of Rochester, 660 F.3d 98, 108 (2d
     Cir. 2011) (employer could not have reasonably understood plaintiff’s
     “generalized” complaints as directed at conduct prohibited by Title
     VII);
     Hicks v. Baines, 593 F. 3d 159, 164 (2d Cir. 2010) (“All of plaintiffs’
     retaliation claims are analyzed pursuant to Title VII principles.”);
     Gordon v. New York City Bd. of Educ., 232 F.3d 111, 117 (2d Cir. 2000)
     (“The lack of knowledge on the part of particular individual agents is
     admissible as some evidence of a lack of a causal connection.”);
     Falcon v. State of Conn. Judicial Branch, No. 3:16-cv-549(AWT), 2018
     U.S. Dist. LEXIS 196230, at *25-26 (D. Conn. Sept. 25, 2018) (describing
     the elements of a Title VII retaliation claim as including but-for
     causation and noting that the elements of a retaliation claim are
     identical under CFEPA and Title VII);
     Saliga v. Chemtura Corp., No. 12-cv-832, 2015 U.S. Dist. LEXIS 133135,
     at *44-45 (D. Conn. Sept. 30, 2015) (“Complaints presenting general
     allegations of harassment unrelated to protected class are not
     protected activity under Title VII, Section 1981, or CFEPA.”);
     Rajaravivarma v. Bd. of Trs. for the Conn. State Univ. Sys., 862 F. Supp.
     2d 127, 148, 166 (D. Conn. 2012);
     Gray v. City of N.Y., No. 08-CV-2840 (NGG) (JMA), 2011 U.S. Dist. LEXIS
     142427, at *41-42 (E.D.N.Y. Dec. 12, 2011) (finding decision-maker
     could not have retaliated against plaintiff where there is no evidence
     that the decision-maker had knowledge of plaintiff’s complaint);
     Bazile v. City of N.Y., 215 F. Supp. 2d 354, 384-85 (S.D.N.Y. 2002);
     Negussey v. Syracuse Univ., 95-CV-1827, 1997 U.S. Dist. LEXIS 3853,
     at *38 (N.D.N.Y. Mar. 24, 1997) (“a plaintiff may not predicate a
     retaliation claim on acts that predate the protected activity”).




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                      REQUESTED INSTRUCTION NO. 2
             YALE’S GOOD FAITH BELIEF IS ALL THAT IS REQUIRED

             In your consideration of Professor Byrne’s retaliation claim, you are

instructed that Yale University’s reasons for the adverse departmental vote on her

tenure case cannot be considered pretext so long as Yale University had a

reasonable, honest belief that the facts upon which it based its decisions were true.

Professor Byrne’s perception of her scholarship and her subjective belief that she

was retaliated against are not important to your determination. Therefore, if you

conclude that Yale University honestly believed that the facts upon which it based

its employment decisions were true, you must return a verdict in Yale University’s

favor on the retaliation claim.



Sources:     Combs v. Meadowcraft, Inc., 106 F. 3d 1519, 1543 (11th Cir. 1997)
             (disagreement regarding the wisdom of an employer’s business
             decision does not, without more, create a basis to disbelieve an
             employer’s explanation regarding that decision);
             Schuler v. Chronicle Broadcasting Co., 793 F.2d 1010, 1011 (9th Cir.
             1986) (Plaintiff’s subjective personal judgments regarding her own
             competence are insufficient as a matter of law to establish employer’s
             legitimate non-discriminatory reason -- her relative competence
             compared to more qualified employee retained -- was a pretext);
             Marini v. Costco Wholesale Corp., 64 F. Supp. 3d 317, 334 (D. Conn.
             2014).
             Aguliaro v. Brooks Brothers, Inc., 927 F. Supp. 741, 747 (S.D.N.Y.
             1996).




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                       REQUESTED INSTRUCTION NO. 3
                   PROFESSOR BYRNE’S SUBJECTIVE BELIEF

             Professor Byrne’s personal, subjective belief that she was retaliated

against is not sufficient to meet her burden of proof. It is not enough for Professor

Byrne to show her subjective belief, feelings, suspicions or speculation that the

reasons stated for the adverse departmental vote were not genuine. The burden in

this case is always on Professor Byrne to prove by a preponderance of the

evidence that Yale University intentionally retaliated against her. If Professor Byrne

fails to meet her burden, you must find for Yale University.



Sources:     St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502 (1993);
             Texas Dep’t of Community Affairs v. Burdine, 450 U.S. 248 (1981);
             Kalola v. IBM, No. 13 Civ. 7339 (VB) (LMS), 2017 U.S. Dist. LEXIS 29945,
             at *41-42 (S.D.N.Y. Feb. 28, 2017) (finding “Plaintiff’s subjective belief”
             insufficient to establish pretext in the context of a retaliation claim);
             Morser v. AT&T Information Systems, 703 F. Supp. 1072, 1083 (S.D.N.Y
             1989) (“[Plaintiff’s] own belief that he was qualified . . . ‘carries little
             weight.’”).




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                         REQUESTED INSTRUCTION NO. 4
                             ACADEMIC FREEDOM

             If you find that Yale University determined that Professor Byrne’s

scholarship did not meet Yale’s high standards for tenure, then you must defer to

the University’s academic judgment underlying the departmental vote and find in

favor of Yale University on the retaliation claim.

             Yale University’s academic judgment is not on trial in this action.

Under the First Amendment, educational institutions, such as Yale University, have

the freedom to make their own academic judgments about education and

scholarship. It is not enough for Professor Byrne merely to establish a dispute or

disagreement about her scholarship. Determinations about teaching ability,

scholarship, and professional stature are professional academic judgments about

which reasonable people can disagree. And they often deal with matters that

require special knowledge to understand. Such judgments cannot be second-

guessed, unless they are proven by a preponderance of the evidence to be a pretext

for forbidden considerations, such as intentional retaliation.


Sources:     Lieberman v. Gant, 630 F.2d 60, 67 (2d Cir. 1980);
             Bickerstaff v. Vassar College, 196 F.3d 435 (2d Cir. 1999);
             Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 312 (1978);
             Zahorik v. Cornell Univ., 729 F.2d 85, 93-94 (2d Cir. 1984);
             Rajaravivarma v. Bd. of Trs. for the Conn. State Univ. Sys., 862 F. Supp.
             2d 127, 166 (D. Conn. 2012);
             Craine v. Trinity College, 259 Conn. 625 (2002).




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                        REQUESTED INSTRUCTION NO. 5
                       NEGLIGENT MISREPRESENTATION

             Professor Byrne claims that Yale University made negligent

misrepresentations by communicating to her, through its employees, that: she

would receive a fair tenure review; things were going well at that time; there would

not be negative effects for her involvement in the climate review and Title IX

investigation; and, the Dean allegedly had the power to require recusal from tenure

review.

             In order to prevail on her claim of negligent misrepresentation,

Professor Byrne must prove by a preponderance of the evidence each of the

following three elements. First, Professor Byrne must prove that Yale

University made a statement or statements that were untrue. Second, Professor

Byrne must prove that Yale University knew or should have known that the

statements were untrue at the time they were made. Third, Professor Byrne must

prove that she reasonably relied upon the false statements to her detriment.

             Yale University denies that Professor Byrne justifiably relied on the

statement that things were going well at that specific point in time and asserts that

the other alleged misrepresentations were in fact truthful statements.

             The first element requires that Professor Byrne prove that Yale

University supplied false information to her regarding an existing fact. Statements

of opinion are not actionable.

             The second element of this claim requires that Professor Byrne prove

that Yale University failed to exercise reasonable care or competence in

communicating this information. A party may be under a duty to exercise

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reasonable care to disclose to another party facts that are basic to their

relationship when and if it knows that the other party is mistaken about such a fact.

Reasonable care is also sometimes referred to as due care. Due care is that amount

of care that a reasonably prudent person would take under certain circumstances.

             Lastly, this claim also requires that Professor Byrne prove that she

justifiably relied on the false information to her detriment. This requires that

Professor Byrne prove that the false statement was material, and that Professor

Byrne actually relied on the false statement to her detriment. In order to prove that

she actually relied on the false statement, Professor Byrne must prove that she

acted or failed to act in some manner at least in part because of some

misinformation provided by Yale University and that as a result she has suffered

harm.

             In order to find for Professor Byrne under this count, you must find for

Professor Byrne on all three elements by a preponderance of the evidence. If you

do not find for Professor Byrne on each and every element, then you must find for

Yale University on this count. Again, I remind you that the wisdom of Yale

University's decision to deny Professor Byrne tenure is an academic decision that

is not before you and must not be second-guessed by you.



Sources:     Yurevich v. Sikorsky Aircraft Div., 51 F. Supp. 2d 144, 152
             (D. Conn. 1999);
             Foy v. Pratt & Whitney Group, 127 F.3d 229, 233 (2d Cir. 1997);
             Glazer v. Dress Barn, Inc., 274 Conn. 33, 72-79 (2005);
             D'Ulisse-Cupo v. Board of Dirs. of Notre Dame High Sch.,
             202 Conn. 206, 218-21 (1987);
             Restatement (Second) of Torts § 552 (1977).



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                        REQUESTED INSTRUCTION NO. 6
                           BREACH OF CONTRACT


      Professor Byrne claims that Yale University breached a contract with her by

violating the tenure review and recusal procedures of the Faculty Handbook. In

order to recover on her breach of contract claim, Professor Byrne must prove:

   1) she had a contract with Yale University;

   2) Yale University failed to perform its obligations under the contract (i.e., that

      Yale University breached the contract); and

   3) as a result, Professor Byrne sustained damages.


Source:     Fishman v. Smartserv Online, No. X05CV0172810S, 2003 Conn. Super.
            LEXIS 338, at *23-26 (Super. Ct. Feb. 11, 2003).




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                       REQUESTED INSTRUCTION NO. 7
                     CONTRACTS ARE NOT MADE IN COURT

      It is not your function to remake the contract or to change the terms of the

contract. You must determine the intent of the parties from the contract the parties

themselves made and apply the terms of that contract that the parties in fact made.


Sources:    Bank of Boston Connecticut v. Schlesinger, 220 Conn. 152, 158
            (1991);
            Barnard v. Barnard, 214 Conn. 99, 109-10 (1990).




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                         REQUESTED INSTRUCTION NO. 8
                              MATERIAL BREACH

             In order to prove a breach of contract, Professor Byrne must show that

Yale University committed a "material breach." A material breach is a breach that

affects the fundamental purpose of the contract and destroys the entire purpose

for entering into the contract. A failure to perform some minor part of a contractual

duty is not a material breach. Whether the breach was material is a question of fact

for you to decide.

             Here, Professor Byrne alleges the purpose of the contract was to

ensure that Yale University would grant or deny Professor Byrne tenure based on

a fair application of Yale’s tenure standard. Professor Byrne claims that there were

deviations from the tenure process, which constitute a material breach of contract,

such as that she was not told that she could identify external reviewers whom she

believed would unfairly assess her work. Yale University denies that there was any

breach of contract and, to the extent that there was any minor deviation from the

tenure process, those actions were merely incidental to the purpose of the contract

and do not constitute a material breach of the contract.

             In determining whether any breach in this case was material, you

should consider all of the circumstances, including:

             (1) the extent to which the alleged deviation from established process

deprived Professor Byrne of a benefit she reasonably expected;

             (2) the extent to which Professor Byrne can be adequately

compensated for the alleged deviation from established process;

             (3) the extent to which Yale University will suffer forfeiture;

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            (4) the likelihood that Yale University will fix its failure, taking into

account all the circumstances, including any reasonable assurances; and

            (5) the extent to which Yale University acted in accordance with the

standards of good faith and fair dealing.

            If you find that Yale University did not materially breach a contract with

Professor Byrne, then you must enter a verdict for Yale University on this count. If

you find that Yale University materially breached the contract, then you must

determine whether Professor Byrne was injured by such breach and, if so, the

amount of damages to be awarded.


Source:     Fishman v. Smartserv Online, No. X05CV0172810S, 2003 Conn. Super.
            LEXIS 338, at *23-26 (Super. Ct. Feb. 11, 2003);
            Restatement (Second) of Contracts § 241 (1981).




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                      REQUESTED INSTRUCTION NO. 9
                   DAMAGES - BREACH OF CONTRACT CLAIM

             A required element of the breach of contract claim is that Professor

Byrne prove that she incurred actual damages as a result of Yale University’s

alleged breach, as well as prove the amount of those damages.

            Professor Byrne must specifically prove that:

            1. The damages were reasonably foreseeable by Yale University at

the time they entered into the alleged contract;

            2. The damages were sustained as a direct result of Yale University’s

breach of the alleged contract; and

            3. The damages can be calculated with reasonable certainty. The

damages must not be too speculative or remote and there must be evidence

allowing for objective ascertainment of the amount of damages.

            If you find that Professor Byrne has not proven one or more of these

three elements of her damages claim, then you must enter a verdict for Yale

University on this count. If you find that Professor Byrne has proven damages

arising from a material breach of contract, then you must determine the amount of

damages to be awarded in accordance with the instructions provided next, bearing

in mind that an award of damages for a breach of contract is intended to place the

injured party in the position it would have been in had the contract been performed.


Sources:    E. Point Sys. v. Steven Maxim, S2K, Inc., No. 3:13-cv-00215 (VAB),
            2016 U.S. Dist. LEXIS 36613, at *30 (D. Conn. Mar. 22, 2016);
            Frillici v. Westport, 264 Conn. 266, 283 (2003);



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     Meadowbrook Ctr., Inc. v. Buchman, 149 Conn. App. 177, 186-87, 189
     (2014);
     CAS Construction Co. v. Town of E. Hartford, 82 Conn. App. 543, 556
     (2004);
     W. Haven Sound Dev. Corp. v. W. Haven, 201 Conn. 305, 320 (1986).




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                 REQUESTED INSTRUCTION NO. 10
   CHARGES ON DAMAGES GENERALLY - COURT EXPRESSES NO OPINION

             I will next instruct you regarding the law of damages available for the

claims raised in this case. The fact that I am instructing you as to the proper

measure of damages should not be considered by you, in any way, as meaning that

I have any views as to which party is entitled to your verdict in this case. I am

instructing you on all aspects of the law at this time.

             If you find for Professor Byrne on her claims against Yale University

then, and only then, would you consider the amount which, in the exercise of your

good judgment and common sense, you find is fair and just compensation for all

loss resulting from the injuries Professor Byrne sustained in accordance with the

rules of law as I will describe them for you. Instructions as to the measure of

damages are given for your guidance, in the event you should find in favor of

Professor Byrne from a preponderance of the evidence in the case in accordance

with the other instructions. If, therefore, you find that Professor Byrne has not

proven her case by a preponderance of the evidence, you must find for Yale

University. If you find for Yale University, you must not consider the instructions I

give on damages.



Source:      O’Malley, Grenig & Lee, Federal Jury Practice and Instructions
             § 106.02 (5th ed. 2001) (modified).




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                       REQUESTED INSTRUCTION NO. 11
                          SPECULATIVE DAMAGES

            In awarding damages, you may not speculate on damages. It is only

actual damages that the law speaks of. The amount of your verdict must be based

upon the evidence presented. You are not to award Professor Byrne speculative

damages; that is, compensation for damages that, although possible, are remote,

conjectural or speculative.


Sources:    O’Malley, Grenig & Lee, Federal Jury Practice and Instructions
            § 171.90 (5th ed. 2001) (modified);
            Carey v. Piphus, 435 U.S. 247, 264 n.20 (1978) (“[A]n award of damages
            must be supported by competent evidence concerning the injury.”);
            Meadowbrook Ctr., Inc. v. Buchman, 149 Conn. App. 177, 191-93 (2014)
            (“Under Connecticut law, damages may not be predicated on a
            contingency.”).




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                       REQUESTED INSTRUCTION NO. 12
                         COMPENSATORY DAMAGES

      If you determine Yale University retaliated against Professor Byrne or made

negligent misrepresentations, then you must determine the amount of damages

Yale University’s conduct caused Professor Byrne. The only damages that you

may award, if proven, are damages related to Professor Byrne’s alleged emotional

upset or loss of reputation caused by the retaliation or the negligent

misrepresentation.

             In this regard, you must determine an amount that is fair

compensation for Professor Byrne’s damages, and I instruct you that you may not

award any other types of damages, including for any wages or other matters.

             I cannot give you a yardstick by which to measure the dollar value, if

any, of damages. There is no exact standard for fixing the compensation to be

awarded for this type of alleged damages. You have heard the evidence, and you

will have to determine, based on your common sense and experience, that amount

of money, if any, that will fairly and reasonably compensate her for the damages

you find she has proven as a consequence of illegal retaliation or negligent

misrepresentation. Any award you make should be fair in light of the evidence

presented at trial.

             In determining the amount of any damages you decide to award, you

should be guided by dispassionate common sense. You must use sound judgment

in fixing an award of compensatory damages, drawing reasonable inferences from

the facts in evidence. You may not award damages based on sympathy,

speculation, or guess work. Computing damages may be difficult, but you must not

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let that difficulty lead you to engage in arbitrary guesswork. On the other hand, the

law does not require that Professor Byrne prove the amount of her losses with

mathematical precision, but only with as much definiteness and accuracy as

circumstances reasonably permit.


Sources:     O’Malley, Grenig & Lee, Federal Jury Practice and Instructions
             § 171.90 (5th ed. 2001) (modified);
             42 U.S.C. § 1981a;
             Broadnax v. City of New Haven, 415 F.3d 265, 271 (2d Cir. 2005)
             (confirming lost wages award is an equitable remedy).




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                      REQUESTED INSTRUCTION NO. 13
                  PROOF OF EMOTIONAL DISTRESS DAMAGES

            Professor Byrne has alleged that, as a result of Yale University’s

conduct, she has suffered emotional distress, loss of enjoyment of life, and harm

to reputation. Professor Byrne has the burden of proving any compensatory

damages by a preponderance of the evidence.

            If you determine that Professor Byrne has not proven by a

preponderance of the evidence that she experienced any emotional distress, loss

of enjoyment of life, or harm to reputation as a result of any action on the part of

Yale University, then you should not award Professor Byrne any such

compensatory damages.


Sources:    ABA Model Jury Instructions, Employment Litigation, 1.07[3];
            Devitt, Blackmar and Wolff, Federal Jury Practice and Instructions
            §§ 104.05, 104.06, 104A.11 (1987 & Supp. 1993);
            Carey v. Piphus, 435 U.S. 247, 264 n.20 (1978);
            Patramale v. Local No. 17, 847 F.2d 1009 (2d Cir. 1988);
            Stolberg v. Members of Bd. of Trustees for State Colleges of Conn.,
            474 F.2d 485, 489 (2d Cir. 1973);
            Evanauskas v. Strumpf, No. 3-00-CV-1106 (JCH), 2001 U.S. Dist. LEXIS
            14326, at *15 (D. Conn. June 27, 2001).




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                    REQUESTED INSTRUCTION NO. 14
          DAMAGES – PROFESSOR BYRNE CANNOT RECOVER MORE
                    THAN ONCE FOR THE SAME LOSS

            Professor Byrne cannot recover more than once for the same loss,

even if she prevails on more than one of her claims. You are not permitted to award

Professor Byrne a double recovery for a single loss. If two separate claims result

in a damages award to compensate Professor Byrne for a particular injury, only

one award can be made.



Source:     Rowe v. Goulet, 89 Conn. App. 836, 848-49 (2005).




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                        REQUESTED INSTRUCTION NO. 15
                             PUNITIVE DAMAGES

             In addition to the claims for damages already mentioned, if, and only

if, you find for Professor Byrne on the question of the liability against Yale

University for retaliation that allows you, but does not require you, to award

punitive damages under federal law. Punitive damages are an extraordinary

sanction, available only under aggravated circumstances, to penalize a party for

engaging in notably reprehensible conduct. The law does not generally look with

favor upon punitive damages. It is for you to determine whether such damages

should be awarded, based on the instructions I am about to give you.

             In some cases, punitive damages may be awarded for the purpose of

punishing a defendant for its wrongful conduct and to deter others from engaging

in similar wrongful conduct. However, an employer may not be held liable for

punitive damages because of retaliatory acts by its managerial employees where

those acts are contrary to the employer’s good faith efforts to comply with the law

by implementing policies and programs designed to prevent such unlawful

retaliation in the workplace.

             An award of punitive damages would be appropriate in this case only

if you find for Professor Byrne on her retaliation claims under Title VII, and then

further find from a preponderance of the evidence:

             First: that Yale University acted with malice or reckless indifference to

Professor Byrne’s federally protected rights; and




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               Second: that Yale University did not act in a good faith attempt to

comply with the law by adopting policies and procedures designed to prohibit such

retaliation.

               Professor Byrne must prove that the actions of Yale University that

proximately caused actual damage to Professor Byrne were outrageously,

maliciously, wantonly or oppressively done.

               An act is regarded as outrageous if it is monstrous, heinous and

atrocious and describes whatever is so flagrantly bad that one’s sense of decency

or power to suffer or tolerate is violated.

               An act is maliciously done if it is prompted or accompanied by ill will

or spite or grudge toward Professor Byrne.

               An act is wantonly done if it is done in reckless or callous disregard

of or indifference to Professor Byrne’s rights.

               An act is oppressively done if it is done in a way or manner which

injures or damages or otherwise violates Professor Byrne’s rights with

unnecessary harshness or severity as by misuse or abuse of authority or power or

by taking advantage of some weakness or misfortune.

               You should bear in mind that such extraordinary damages may be

awarded only if you unanimously find from a preponderance of the evidence that

Yale University’s acts, which proximately caused actual damage to Professor

Byrne, were outrageously, maliciously, oppressively or wantonly done. You should

also bear in mind not only the conditions under which the law permits an award of

punitive damages, but also the requirement of law that the amount of such



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extraordinary damages, if awarded, must be fixed with calm discretion and sound

reason, and must never be either awarded or fixed in any amount because of any

sympathy or bias or prejudice with regard to any party to the case. The amount of

punitive damages must be in proportion to the evidence that Yale University’s

conduct was purposeful, or the damages will be found to be excessive. If you award

punitive damages, they must be separately stated in your verdict.


Sources:    O’Malley, Grenig & Lee, Federal Jury Practice and Instructions
            § 171.94 (5th ed. 2001) (modified);
            Kolstad v. American Dental Association, 527 U.S. 526 (1999);
            Tepperwien v. Entergy Nuclear Operations, 663 F.3d 556 (2d Cir. 2011)
            (“Punitive damages are available under Title VII where an
            employer . . . retaliates against an employee with ‘malice’ or ‘reckless
            indifference’ to the employee’s federally protected rights.”);
            Smith v. Lightning Bolt Prods., 861 F.2d 363, 373 (2d Cir. 1988);
            Zarcone v. Perry, 572 F.2d 52, 56 (2d Cir. 1978);
            42 U.S.C. § 1981a.




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                        REQUESTED INSTRUCTION NO. 16
                             NOMINAL DAMAGES

            If you find in favor of Professor Byrne, but you find that her damages

have no monetary value, then you must return a verdict for Professor Byrne in the

amount of one dollar.


Sources:    O’Malley, Grenig & Lee, Federal Jury Practice and Instructions
            § 171.92 (5th ed. 2001).




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